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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )



                      DECLARATION OF ULYSSES DOE

      I, Ulysses Doe, declare the following under penalties of perjury:

      1.    I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I have worked for USAID’s implementing partners for over fifteen

years. I have owned my own business for the past 7 years, serving as CEO. During

that time, I have primarily served clients who receive or manage funds from USAID.

My business doesn’t receive funds directly from USAID, but the vast majority of our

clients do. When USAID funding froze a few weeks ago, my clients were unable to

pay me, in turn making me unable to meet my own expenses.

      3.    As a result of the turmoil at USAID, I have had to release over 30

consultants who would have otherwise been working for me, and am desperately

trying to hang on to a few key team members.
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        4.    All of our contracts have been cancelled and we do not anticipate

receiving any new ones this month. For each month that my business takes in almost

no revenue, I incur about $50,000 in expenses unless I make even deeper staffing

cuts.

        5.    I understand from my clients that the freeze on USAID funding doesn’t

just cover expenses going forward but also includes a freeze on paying for expenses

that were incurred earlier. Their current cash situation, and potential for bankruptcy,

means that they may not be able to pay our company for work we have already

performed. We currently have almost $300,000 in outstanding invoices. If this

situation continues, my small business may no longer be able to operate.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on February 10, 2025.



                                                /s/ Ulysses Doe
                                                Ulysses Doe




                                            2
